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     9   Attorneys for Plaintiff,
    10   DOMINIQUE WASHINGTON
    11
                          UNITED STATES DISTRICT COURT
    12
                        CENTRAL DISTRICT OF CALIFORNIA
    13
    14
         DOMINIQUE WASHINGTON, an              Case No.: CV 19-05226-MWF-(KSx)
    15   individual,                           DECLARATION OF DANIEL J.
    16                                         FRIEDMAN, IN SUPPORT OF
                           Plaintiff,          PLAINTIFF’S MOTION IN LIMINE
    17                                         NO.’s 1 - 4 TO PRECLUDE
                                               REFERENCE TO ALLEGATIONS
    18                                         THAT PLAINTIFF OBTAINED
               v.                              TWO PREGNANCY RELATED
    19                                         ABORTIONS
    20                                         Final Pretrial Conference
         FEDEX GROUND PACKAGE                  Date: June 21, 2021
    21                                         Time: 1:30 p.m.
         SYSTEM, INC., a Delaware              Dept: 5A
    22   corporation; and DOES 1 through 20,
    23   inclusive,
    24
                          Defendants.
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            DECL. OF DANIEL J FRIEMANIN SUPPORT OF PLAINTIFF’S OPPOSITION TO
                             DEFENDANT’S MOTION IN LIMINE NO. 1
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     1                 DECLARATION OF DANIEL J. FRIEDMAN
     2         I, Daniel J. Friedman , declare as follows:
     3         1.     I am an attorney duly admitted to practice before this Court. I
     4   am associated withthe EMPLOYEE JUSTICE LEGAL GROUP, PC, counsel
     5   for Plaintiff Dominique Washington herein. I have personal knowledge of
     6   the facts set forth herein and if called upon as a witness could and would
     7   testify competently thereto. I file this declaration in support of Plaintiff’s
     8   four Motions In Limine.
     9         2. On May 25, 2021, I spoke to opposing Counsel Shaun Voight and
    10   Sean Daley on the phone regarding Plaintiff’s intention to file the four
    11   motions in limine. Defendant’s counsel stated they will not stipulate to any
    12   of Plaintiff’s motions in limine.
    13         3. Attached hereto as Exhibit 1, and incorporated herein by this
    14   reference, is a true and correct copy of Dr. Francine Kulic Rebuttal Expert
    15   Report..
    16         I declare under penalty of perjury under the laws of the State of
    17   California that the foregoing is true and correct. Executed June 1, 2021, at
    18   Los Angeles, California.
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                                                                 /s/ Daniel J. Friedman
    21                                                           Daniel J. Friedman
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                             DECL. OF DANIEL J, FRIEDMAN I/S/O MOTION IN LIMINES
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                                    PROOF OF SERVICE
     1
         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
     2
     3
               I am employed in the County of Los Angeles, State of California. I
         am over the age of 18 and not a party to the within action. My business
     4   address is 3055 Wilshire Boulevard, Suite 1100, Los Angeles, California
         90010.
     5
         On June 1, 2021, I served the foregoing document described on the attached
     6   DECLARATION OF DANIEL J. FRIEDMAN, IN SUPPORT OF
         PLAINTIFF’S MOTION IN LIMINE NO.’s 1 - 4 TO PRECLUDE
     7   REFERENCE TO ALLEGATIONS THAT PLAINTIFF OBTAINED
         TWO PREGNANCY RELATED ABORTIONS
     8
     9          on the interested parties in this action as follows:
    10       Shaun J. Voigt, Esq.                             Attorney for Defendants
    11       Fisher & Phillips LLP
             444 South Flower Street, Suite 1500
    12
             Los Angeles, CA 90071
    13       svoigt@fisherphillips.com
    14
    15         BY CM/ECF: With the Clerk of the United States District Court of
         California, using the CM/ECF System. the Court’s CM/ECF System will
    16   send an e-mail notification of the foregoing filing to the foregoing parties
         and counsel of record who are registered with the Court’s CM/ECF System.
    17
         Executed on June 1, 2021, at Los Angeles, California.
    18
                      FEDERAL I declare that I am employed in the office of a
    19                member of the bar of this Court at whose direction the service
                      was made.
    20
    21
    22
         Bryant Gamez                                  /s/ Bryant Gamez
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                             DECL. OF DANIEL J, FRIEDMAN I/S/O MOTION IN LIMINES
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                  Exhibit 1
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